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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


       LIBERTARIAN NATIONAL COMMITTEE, INC., ) Case No. 11-CV-562-RLW
                                             )
                      Plaintiff,             )
                                             )
                 v.                          )
                                             )
       FEDERAL ELECTION COMMISSION,          )
                                             )
                      Defendant.             )
                                             )


              PLAINTIFF’S MOTION TO CERTIFY FACTS AND QUESTIONS

       Comes now the Plaintiff, Libertarian National Committee, Inc. (“LNC”), by and through

undersigned counsel, and pursuant to 2 U.S.C. § 437h, moves this Court to adopt the proposed

findings of fact and certify the following question to the Court of Appeals for the District of

Columbia Circuit:

       Does imposing annual contribution limits against testamentary bequests directed at, or

       accepted or solicited by political party committees, violate First Amendment speech and

       associational rights?

       This motion is based upon the attached memorandum of points and authorities in support

of the motion, attached declarations and exhibits, the Court’s file, matters of which the Court

may take judicial notice, and any argument the Court may wish to schedule. Plaintiffs reserve the

right to submit additional proposed facts as may be warranted in response to any response to this

motion, including proposed facts, by the Defendant.
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Wherefore, Plaintiff respectfully requests that the motion be granted.

Dated: May 4, 2012                    Respectfully submitted,

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                                 By: /s/ Alan Gura
                                     Alan Gura

                                      Attorney for Plaintiff
